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 EXHIBIT 22
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 __________________________________

                         Gordon Ramsay
                         February 28, 2023
 __________________________________

                          Progeny, et al.
                                   vs.

                   City of Wichita, Kansas
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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS



      PROGENY,                             )
      a Program of Destination             )
      Innovations Inc.,                    )
      CHRISTOPHER COOPER,                  )
      ELBERT COSTELLO,                     )
      MARTEL COSTELLO, and                 )
      JEREMY LEVY, JR.,                    )
      on behalf of themselves and          )
      others similarly situated,           )
                                           )
                     Plaintiffs,           )
                                           )
      vs.                                  ) Case No.
                                           ) 6:21-cv-01100-EFM-ADM
                                           )
      CITY OF WICHITA, KANSAS,             )
                                           )
                     Defendant.            )




            VIDEOCONFERENCE DEPOSITION OF GORDON RAMSAY
                 TAKEN ON BEHALF OF THE PLAINTIFFS
                         FEBRUARY 28, 2023



              VIDEOCONFERENCE DEPOSITION OF GORDON RAMSAY,
      produced, sworn, and examined on the 28th day of
      February 2023, between the hours of nine o'clock in
      the forenoon and six o'clock in the evening of that
      date, before KARA D. INCE, a Certified Court Reporter
      within and for the State of Kansas, in a certain cause
      now pending IN THE UNITED STATES DISTRICT COURT, FOR
      THE DISTRICT OF KANSAS, wherein PROGENY, a Program of
      Destination Innovations Inc., CHRISTOPHER COOPER,
      ELBERT COSTELLO, MARTEL COSTELLO, and JEREMY LEVY,
      JR., on behalf of themselves and others similarly
      situated are the Plaintiffs and CITY OF WICHITA,
      KANSAS, is the Defendant.
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                                                                     Page 55


 1           A.   They thought it would help the -- their

 2    angle was to help with relationships and bring in a

 3    different lens inside that unit.

 4           Q.   When you say a different lens, compared to

 5    what?

 6           A.   Someone who had maybe experienced police

 7    interactions from a standpoint, like, you know,

 8    Wanda Givens would talk about how she had a family

 9    member on the list and, you know, how that impacted

10    her.    Things like that.

11           Q.   And how did she feel that that impacted

12    her?

13           A.   Well, she was worried to be seen with him,

14    if other police officers saw her with this family

15    member was one thing I remember her saying.

16           Q.   Okay.    So -- so that the black officers

17    felt that there should be more black officers in the

18    gang unit.    What -- were there other concerns about

19    the gang unit?

20           A.   That was the big one.

21           Q.   Anything else?     I'm sorry.

22           A.   That was the big one.

23           Q.   Okay.    Any -- any little ones that you

24    recall?

25           A.   Oh, well, you know, obviously, the



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                                                                    Page 61


 1    have officers, whether they were SROs or other

 2    officers, use more discretion in putting juveniles

 3    on the list?

 4         A.    Well, there was kind of the set criteria

 5    that they went by.

 6         Q.    What do you recall about that criteria?

 7         A.    I'd have to review it so I don't get

 8    anything wrong.

 9         Q.    Okay.    Were there concerns about the

10    criteria within the department?

11         A.    I remember there was some conversations,

12    but in all honesty, I don't exactly remember now

13    what they were.     But we did talk about it.         There

14    was the issue with -- there was one issue that is

15    coming to me now, it was if you were in the presence

16    of a gang member, and, you know, we had

17    conversations about being a family member or a

18    neighbor or a friend and -- and so there was talk --

19    Gilmore and I talked about recognizing that and

20    making sure that that was addressed as well.            And I

21    can't remember --

22         Q.    I'm sorry.    Go ahead.

23         A.    And I can't remember what action was taken

24    on that.

25         Q.    And -- and what was the concern about that



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                                                                  Page 114


 1    it says "gang list" there.      Do you see that?

 2         A.     Yes.

 3         Q.     And there it says that -- I'm -- I'm just

 4    going to read that whole paragraph.

 5                "The gang list is predominantly

 6    compromised of people of color, especially

 7    African-American and Latino men.        Chief Ramsay and

 8    his executive staff recognize the immense problems

 9    with the gang list, especially regarding racial

10    issues, the lack of transparency, and the

11    unregulated placement of individuals on the list.

12    Chief Ramsay and the deputy chiefs implemented

13    notification for parents of children placed on the

14    list and added intervention for juveniles in 2016

15    and 2017.    Chief Ramsay and the executive staff also

16    wanted to employ a due process procedure to remove

17    adults from the list.     Deputy Chief Salcido proposed

18    a five-member panel compromised of three officers

19    and two citizens, with the citizens being a member

20    of the African-American community and the other from

21    the Latino community, since both groups are

22    overrepresented on the gang list.        The City of

23    Wichita and the FOP reacted with hostility and

24    resentment toward these recommendations."

25                Do you see that?



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